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                                   2                                     UNITED STATES DISTRICT COURT

                                   3                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   5       PATRICK CALHOUN, et al.,                         Case No. 20-cv-05146-YGR (SVK)
                                   6                      Plaintiffs,
                                                                                            ORDER RE DEPOSITION OF SUNDAR
                                   7               v.                                       PICHAI
                                   8       GOOGLE LLC,                                      Re: Dkt. No. 556
                                   9                      Defendant.

                                  10            The Court is in receipt of the Parties’ submissions regarding the deposition of Google and
                                  11   Alphabet CEO Sundar Pichai. Dkt. Nos. 556, 566. In support of their motion, Plaintiffs submitted

                                  12   under seal twelve exhibits including documents, deposition excerpts and emails (Dkt. Nos. 555-3
Northern District of California
 United States District Court




                                  13   to 555-14), which the Court has also reviewed. This motion follows a similar motion in the

                                  14   related case Brown v. Google (20-cv-03664-YGR; Dkt.357) filed in December, 2021. In that

                                  15   instance the Court found that the Brown Plaintiffs’ arguments and supporting documents provided

                                  16   sufficient grounds for a limited deposition of no more than two hours. Brown Dkt. 365.1 Here the

                                  17   Court reaches a different result. Plaintiffs’ argument is at best conclusory, and the proffered

                                  18   documents fail to demonstrate the requisite unique knowledge of the disputed facts in this case. In

                                  19   sum, general references to “Chrome” and “privacy” are not sufficient. Accordingly, Plaintiff’s

                                  20   motion to depose Mr. Pichai in this action is DENIED.

                                  21            SO ORDERED.

                                  22   Dated: March 24, 2022

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                                                                                                    SUSAN VAN KEULEN
                                  25                                                                United States Magistrate Judge
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                                           Google has appealed that ruling to the District Judge. Brown Dkt. 382.
